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                  IN THE UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION



RE:    BRANDY NICOLE CRUMP                     )
       aka BRANDY CRUMP                        )
                                               )
The Bank of New York Mellon, f/k/a             )
The Bank of New York, as trustee               )     Chapter 13
for the certificateholders of the              )
CWABS, Inc. Asset-Backed                       )
Certificates Series 2006-3                     )
by Green Tree Servicing LLC                    )
            Creditor,                          )     Case No. 14-28280
                                               )     Judge Eugene R. Wedoff
       vs.                                     )
                                               )
BRANDY NICOLE CRUMP                            )
aka BRANDY CRUMP,                              )
            Debtor,                            )


                                NOTICE OF MOTION



TO:   SEE ATTACHED ADDRESSES



     PLEASE TAKE NOTICE THAT ON May 14, 2015 at 9:00 a.m., or as soon thereafter as
counsel may be heard, I shall appear before the Honorable Eugene R. Wedoff, U.S.
Bankruptcy Judge, 219 S. Dearborn Street, Chicago, Illinois, room 744, and shall
then and there present the attached Motion and at which time you may appear if you
so desire.


                                    CERTIFICATION


     I, the undersigned Attorney, Certify that I served a copy of this Notice to
the Addresses attached by electronic notice through ECF or by depositing the same
at the U.S. Mail at 1 North Dearborn, Chicago, Illinois 60602 at 5:00 P.M. on April
28, 2015, with proper postage prepaid.

                                            PIERCE & ASSOCIATES, P.C.
**THIS DOCUMENT IS AN ATTEMPT
TO COLLECT A DEBT AND ANY                   /s/Toni Townsend
INFORMATION OBTAINED WILL BE                Toni Townsend ARDC#6289370
USED FOR THAT PURPOSE**
                                            1 North Dearborn
                                            Suite 1300
                                            Chicago, Illinois 60602
                                            312-346-9088
PA15-0404
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                            NOTICE OF MOTION ADDRESSES



To Trustee:
Marilyn O. Marshall
224 South Michigan
Suite 800
Chicago, Illinois 60604
By Electronic Notice through ECF


To Debtor:
BRANDY NICOLE CRUMP aka BRANDY CRUMP
16331 Carse Ave
Harvey, IL 60426
By U.S. Mail


16348 Wood Street
Markham, IL 60428
By U.S. Mail



To Attorney:
Nathan C. Volheim
Sulaiman Law Group, LTD
900 Jorie Blvd
Oak Brook, IL 60523
By Electronic Notice through ECF




PIERCE & ASSOCIATES, P.C.
Suite 1300
1 North Dearborn
Chicago, Illinois 60602
(312) 346-9088




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                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RE:     BRANDY NICOLE CRUMP        )
        aka BRANDY CRUMP           )
                                   )
The Bank of New York Mellon, f/k/a )
The Bank of New York, as trustee   )
for the certificateholders of the )
CWABS, Inc. Asset-Backed           )
Certificates Series 2006-3         )
by Green Tree Servicing LLC        )
          Creditor,                )              Case No. 14-28280
                                   )              Judge Eugene R. Wedoff
     vs.                           )
                                   )
BRANDY NICOLE CRUMP                )
aka BRANDY CRUMP,                  )
          Debtor,                  )

                       MOTION TO MODIFY THE AUTOMATIC STAY

       NOW COMES The Bank of New York Mellon, f/k/a The Bank of New York,

as trustee for the certificateholders of the CWABS, Inc. Asset-Backed

Certificates Series 2006-3 by Green Tree Servicing LLC, by and through

its    attorneys,     Pierce   &   Associates,    P.C.,   and   requests     that     the

Automatic Stay heretofore entered on the property located at 16331 Carse

Ave, Harvey, IL 60426, be Modified, stating as follows:

       1. On July 31, 2014, the above captioned Chapter 13 was filed.

       2. On November 13, 2014, the            above captioned Chapter 13 was

          confirmed.

       3. Green Tree Servicing LLC services the first mortgage lien on

          the property located at 16331 Carse Ave, Harvey, IL 60426.

       4. The Plan calls for the debtor to surrender the subject property.

       5. The Bank of New York Mellon, f/k/a The Bank of New York, as

          trustee for the certificateholders of the CWABS, Inc. Asset-

          Backed Certificates Series 2006-3 by Green Tree Servicing LLC
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    continues to be injured each day it remains bound by the

    Automatic Stay.

6. The Bank of New York Mellon, f/k/a The Bank of New York, as

    trustee for the certificateholders of the CWABS, Inc. Asset-

    Backed Certificates Series 2006-3 by Green Tree Servicing LLC

    is not adequately protected.

7. The property located at 16331 Carse Ave, Harvey, IL 60426 is

    not necessary for the debtor's reorganization.

8. The debtor has no equity in the property for the benefit of

    unsecured creditors.

 9. Green Tree Servicing LLC services the underlying mortgage loan

    and note for the property referenced in this Motion for Relief

    for The Bank of New York Mellon, f/k/a The Bank of New York,

    as trustee for the certificateholders of the CWABS, Inc. Asset-

    Backed Certificates Series 2006-3 by Green Tree Servicing LLC

    (the noteholder) and is entitled to proceed accordingly. Should

    the Automatic Stay be lifted and/or set aside by Order of this

    Court or if this case is dismissed or if the debtor obtains a

    discharge and a foreclosure action is commenced or recommended,

    said foreclosure action will be conducted in the name of The

    Bank of New York Mellon, f/k/a The Bank of New York, as trustee

    for the certificateholders of the CWABS, Inc. Asset-Backed

    Certificates Series 2006-3 by Green Tree Servicing LLC (the

    noteholder).

10. The Bank of New York Mellon, f/k/a The Bank of New York, as

    trustee for the certificateholders of the CWABS, Inc. Asset-
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    Backed Certificates Series 2006-3 by Green Tree Servicing LLC

    (the noteholder) has the right to foreclose because Noteholder

    is the original mortgagee or beneficiary or assignee of the

    security    instrument     for   the   referenced     loan.       Noteholder

    directly or through an agent has possession of the promissory

    note and the promissory note is either made payable to the

    noteholder or has been duly endorsed.

11. No cause exists to delay the enforcement and implementation of

    relief and Bankruptcy Rule 4001(a)(3) should be waived.
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     WHEREFORE, YOUR MOVANT respectfully prays that the Automatic

Stay on the property located at 16331 Carse Ave, Harvey, IL 60426, be

modified,   and    that   Bankruptcy    Rule   4001(a)(3)     be   waived    as     not

applicable, and leave be granted to The Bank of New York Mellon, f/k/a

The Bank of New York, as trustee for the certificateholders of the

CWABS, Inc. Asset-Backed Certificates Series 2006-3 by Green Tree

Servicing LLC to proceed with foreclosure, and for such other and

further relief as this Honorable Court deems just.


                                            The Bank of New York Mellon,
                                            f/k/a The Bank of New York, as
                                            trustee for the
                                            certificateholders of the CWABS,
                                            Inc. Asset-Backed Certificates
                                            Series 2006-3 by Green Tree
                                            Servicing LLC

                                            /s/Toni Townsend
                                            Toni Townsend ARDC#6289370

                                            Pierce and Associates, P.C.
                                            1 North Dearborn Street
                                            Suite 1300
                                            Chicago, Illinois 60602
                                            (312)346-9088
